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                              UNITED STATES DISTRICT COURT
 6
                                      DISTRICT OF ARIZONA
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     MICHAEL J. BROSNAHAN,
 8                                                  No. CV-16-08277-PCT-DLR
 9                       Plaintiff,

           v.                                       [PROPOSED] ORDER GRANTING
10                                                  STIPULATION AND JOINT MOTION
                                                    TO EXTEND TIME TO COMMENCE
11                                                  DISCOVERY AND TO POSTPONE
     CALIBER HOME LOANS, INC., et al.               THE RULE 16 HEARING
12
                         Defendants.
13                                                  (Honorable Douglas L. Rayes)
14
           After review of the Parties’ Stipulation and Joint Motion to Extend Time to
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     Commence Discovery and to Postpone the Rule 16 Hearing (Doc. # 21) and good cause
16
     appearing,
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           IT IS ORDERED that the Parties’ Stipulation and Joint Motion to Extend Time to
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     Commence Discovery and to Postpone the Rule 16 Hearing is Granted, and
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           IT IS FURTHER ORDERED vacating the Rule 16 hearing currently set for April
20
     14, 2017 hearing. The Rule 16 hearing shall be rescheduled after the Court has ruled on
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     the pending motion to dismiss. The other deadlines set forth in the Court’s February 9,
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     2017 Order Setting Rule 16 Scheduling Conference are also vacated, and will be
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     rescheduled by the Court after it has ruled on the pending motion to dismiss.
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      Case 3:16-cv-08277-DLR Document 21-1 Filed 03/20/17 Page 2 of 2



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     Dated this __ day of ______, 2017
 2
                                               Honorable Douglas L. Rayes
 3
                                               United States District Judge
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